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                                Exhibit F

  Summary of Total Fees Incurred and Hours Billed During the Fee Period
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                                                                                                                           Hourly Rate Billed            Fees Billed
                                                                                           Hours Billed   Number of                                    In this Application
   Attorney                                               Date of      Fees Billed                                                      In the First
                    Position        Department                                                In this       Rate        In this                          at First Interim
    Name                                                 Admission   In this Application                                                  Interim
                                                                                            Application   Increases   Application                          Application
                                                                                                                                        Application
                                                                                                                                                           Billing Rate
Shubi Arora,
                    Partner           Corporate            2011         $75,369.00            58.20         N/A       $1,295.00         $1,295.00        $75,369.00
P.C.
Andrew Calder,
                    Partner           Corporate            2003        $103,250.00            70.00         N/A       $1,475.00         $1,475.00        $103,250.00
P.C.
Stephen C
                    Partner           Litigation           1997        $319,480.00           260.80         N/A       $1,225.00         $1,225.00        $319,480.00
Hackney, P.C.
William A
                    Partner           Taxation             1988          $712.50               0.50         N/A       $1,425.00         $1,425.00          $712.50
Levy, P.C.
Roger S Lucas       Partner           Taxation             1993         $73,047.50            47.90         N/A       $1,525.00         $1,525.00        $73,047.50
Mario
                    Partner      International Trade       1997          $737.50               0.50         N/A       $1,475.00         $1,475.00          $737.50
Mancuso, P.C.
Andres C
                    Partner           Corporate            2001        $144,917.50           118.30         N/A       $1,225.00         $1,225.00        $144,917.50
Mena, P.C.
Gerald T
                    Partner           Corporate            1993         $42,775.00            29.00         N/A       $1,475.00         $1,475.00        $42,775.00
Nowak, P.C.
                                     Executive
Scott D Price       Partner                                1998         $2,802.50              1.90         N/A       $1,475.00         $1,475.00         $2,802.50
                                    Compensation
Anna G
                    Partner           Litigation           2004        $293,813.00           252.20         N/A       $1,165.00         $1,165.00        $293,813.00
Rotman, P.C.
David
                    Partner         Restructuring          1996        $792,870.00            556.40        N/A       $1,425.00         $1,410.00        $784,524.00
Seligman, P.C.
William E
                    Partner           Litigation           2009        $223,976.50           232.10         N/A        $965.00           $965.00         $223,976.50
Arnault, IV
Jamie A
                    Partner           Litigation           2005        $244,032.00           262.40         N/A        $930.00           $930.00         $244,032.00
Aycock
Marin K Boney       Partner           Litigation           2008         $2,089.50              2.10         N/A        $995.00           $995.00          $2,089.50
John G Caruso       Partner          Real Estate           1992         $1,792.50              1.50         N/A       $1,195.00         $1,195.00         $1,792.50
Jeanne T Cohn-
                    Partner        Environmental           1985         $32,465.00            30.20         N/A       $1,075.00         $1,075.00        $32,465.00
Connor
Michael
                    Partner           Corporate            2010          $796.00               0.80         N/A        $995.00           $995.00           $796.00
Fisherman
Stefanie I Gitler   Partner        Environmental           2009         $85,271.50            85.70         N/A        $995.00           $995.00         $85,271.50
Scott J Gordon      Partner           Corporate            1995         $1,794.00              1.20         N/A       $1,495.00         $1,495.00         $1,794.00
William
                    Partner      Intellectual Property     2003        $35,086.50             33.90         N/A       $1,035.00         $1,035.00        $35,086.50
Helmstetter
Erik Hepler         Partner           Corporate            1990          $478.00               0.40         N/A       $1,195.00         $1,195.00          $478.00
Kim Hicks           Partner           Corporate            2009        $295,596.00           285.60         N/A       $1,035.00         $1,035.00        $295,596.00
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                                                                                                                          Hourly Rate Billed            Fees Billed
                                                                                          Hours Billed   Number of                                    In this Application
   Attorney                                              Date of      Fees Billed                                                      In the First
                  Position         Department                                                In this       Rate        In this                          at First Interim
    Name                                                Admission   In this Application                                                  Interim
                                                                                           Application   Increases   Application                          Application
                                                                                                                                       Application
                                                                                                                                                          Billing Rate
Edward B                            Labor and
                  Partner                                 2004         $9,135.00              9.00         N/A       $1,015.00         $1,015.00         $9,135.00
Holzwanger                         Employment
Ellen M
                  Partner            Litigation           1985         $4,851.00              4.20         N/A       $1,155.00         $1,155.00         $4,851.00
Jakovic
Gregg G
Kirchhoefer,      Partner       Intellectual Property     1982        $281,792.00           217.60         N/A       $1,295.00         $1,295.00        $281,792.00
P.C.
Daniel Lewis      Partner       Intellectual Property     2008        $239,590.50           227.10         N/A       $1,055.00         $1,055.00        $239,590.50
Martin R
                  Partner            Litigation           2010         $3,813.00              4.10         N/A        $930.00           $930.00          $3,813.00
Martos, II
Samuel C Peca     Partner            Corporate            2011         $92,933.00            93.40         N/A        $995.00           $995.00         $92,933.00
                                    Executive
Jennifer Pepin    Partner                                 2009        $12,316.50             11.90         N/A       $1,035.00         $1,035.00        $12,316.50
                                   Compensation
William T
                  Partner            Litigation           2004          $812.00               0.80         N/A       $1,015.00         $1,015.00          $812.00
Pruitt
Jeffrey
                  Partner           Real Estate           1997         $37,887.00            34.60         N/A       $1,095.00         $1,095.00        $37,887.00
Rheeling
Steven
                  Partner          Restructuring          2010        $327,714.50            281.30        N/A       $1,165.00         $1,035.00        $291,145.50
Serajeddini
Anthony
                  Partner            Taxation             2011         $63,648.00            61.20         N/A       $1,040.00         $1,015.00        $62,118.00
Sexton
Jennifer
                  Partner           Real Estate           2009         $1,266.00              1.20         N/A       $1,055.00         $1,055.00         $1,266.00
Sheehan
Christine
Strumpen-         Partner            Corporate            2003          $975.00               1.00         N/A        $975.00           $975.00           $975.00
Darrie
Paul D Tanaka     Partner         Environmental           2003         $1,259.50              1.10         N/A       $1,145.00         $1,145.00         $1,259.50
Walter B
                  Partner          Restructuring          2010        $468,247.00            470.60        N/A        $995.00           $955.00         $449,423.00
Winger
Paul Zier         Partner            Corporate            2000         $79,120.00            73.60         N/A       $1,075.00         $1,075.00        $79,120.00
Jack N
                 Of Counsel     Employee Benefits         1995        $325,040.00           272.00         N/A       $1,195.00         $1,195.00        $325,040.00
Bernstein
John S Irving,                      Labor and
                 Of Counsel                               1965          $343.50               0.30         N/A       $1,145.00         $1,145.00          $343.50
Jr.                                Employment
Mark Adler       Associate           Corporate            2013         $44,254.50            48.90         N/A        $905.00           $835.00         $40,831.50
Devin S
                 Associate           Litigation           2012         $8,688.00              9.60         N/A        $905.00           $845.00          $8,112.00
Anderson
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                                                                                                                       Hourly Rate Billed            Fees Billed
                                                                                       Hours Billed   Number of                                    In this Application
   Attorney                                           Date of      Fees Billed                                                      In the First
               Position         Department                                                In this       Rate        In this                          at First Interim
    Name                                             Admission   In this Application                                                  Interim
                                                                                        Application   Increases   Application                          Application
                                                                                                                                    Application
                                                                                                                                                       Billing Rate
Brandon
               Associate          Corporate            2015         $61,887.00            84.20         N/A        $735.00           $645.00          $54,309.00
Bishoff
Alexander
               Associate          Corporate           Pending       $24,253.50            43.70         N/A        $555.00           $555.00         $24,253.50
Burdulia
Daniel Cadis   Associate          Corporate            2017         $70,707.00            127.40        N/A        $555.00           $555.00         $70,707.00
Michael L.
               Associate          Corporate            2015         $25,133.50            30.10         N/A        $835.00           $735.00          $22,123.50
Cerankowski
Matthew
               Associate     Intellectual Property     2009        $127,874.50           133.90         N/A        $955.00           $955.00         $127,874.50
Colman
Benjamin
               Associate          Litigation           2015         $1,087.50              1.50         N/A        $725.00           $630.00           $945.00
Cooper
Ian Craig      Associate         Real Estate           2014         $1,900.50              2.10         N/A        $905.00           $835.00          $1,753.50
Gordon
               Associate          Corporate            2017        $101,121.00            182.20        N/A        $555.00           $555.00         $101,121.00
Cranner
Neda
               Associate        Restructuring         Pending       $1,998.00              3.60         N/A        $555.00           $555.00          $1,998.00
Davanipour
Marcelo de
               Associate          Corporate            2017          $588.00               0.80         N/A        $735.00           $645.00           $516.00
Antunano
Nicholas I.
               Associate     Intellectual Property     2015        $150,607.50           233.50         N/A        $645.00           $645.00         $150,607.50
DeCoster
James R.
               Associate       Environmental           2015         $93,847.50            145.50        N/A        $645.00           $555.00         $80,752.50
Dolphin, III
Tyler J.
               Associate          Corporate            2017          $499.50               0.90         N/A        $555.00           $555.00           $499.50
Dunphy
Jeremy Evans   Associate        Restructuring          2013        $198,062.00           237.20         N/A        $835.00           $735.00         $174,342.00
Jennifer R.
               Associate     International Trade       2010         $2,960.50              3.10         N/A        $955.00           $905.00          $2,805.50
Fernandez
AnnElyse
               Associate        Restructuring          2014        $403,539.50            445.90        N/A        $905.00           $835.00         $372,326.50
Gibbons
Gene
               Associate        Restructuring          2016        $271,141.50            368.90        N/A        $735.00           $645.00         $237,940.50
Goldmintz
Emmeline
               Associate          Corporate            2016          $367.50               0.50         N/A        $735.00           $645.00           $322.50
Hateley
Christopher
               Associate        Restructuring          2013         $29,412.50            32.50         N/A        $905.00           $835.00         $27,137.50
Hayes
Heidi
               Associate        Restructuring          2017        $107,170.50            193.10        N/A        $555.00           $555.00         $107,170.50
Hockberger
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                                                                                                                        Hourly Rate Billed            Fees Billed
                                                                                        Hours Billed   Number of                                    In this Application
   Attorney                                            Date of      Fees Billed                                                      In the First
                Position         Department                                                In this       Rate        In this                          at First Interim
    Name                                              Admission   In this Application                                                  Interim
                                                                                         Application   Increases   Application                          Application
                                                                                                                                     Application
                                                                                                                                                        Billing Rate
Emily K.
                Associate        Restructuring          2014        $128,613.00            199.40        N/A        $645.00           $645.00         $128,613.00
Kehoe
Jared Kelly     Associate          Corporate            2013         $56,019.50            61.90         N/A        $905.00           $835.00         $51,686.50
Demetre
                Associate          Taxation             2016         $24,140.00            35.50         N/A        $680.00           $560.00          $19,880.00
Klebaner
Fernanda M.
                Associate          Corporate            2017         $89,077.50            160.50        N/A        $555.00           $555.00         $89,077.50
Langa
Daniel Latona   Associate        Restructuring          2016        $167,958.00           260.40         N/A        $645.00           $555.00         $144,522.00
Juan P. Lopez   Associate          Corporate            2016         $78,754.50           122.10         N/A        $645.00           $645.00         $78,754.50
Jenna E.
                Associate          Corporate            2017        $116,217.00            209.40        N/A        $555.00           $555.00         $116,217.00
McCord
Rachael J.
                Associate     Intellectual Property     2015        $128,709.00           158.90         N/A        $810.00           $810.00         $128,709.00
Morgan
Laura C.
                Associate       Environmental           2017         $22,699.50            40.90         N/A        $555.00           $555.00         $22,699.50
Mulherin
                                  Executive
Julia Onorato   Associate                               2014         $8,597.50              9.50         N/A        $905.00           $905.00          $8,597.50
                                 Compensation
Jenny Pierce    Associate       Environmental                         $666.00               1.20         N/A        $555.00           $555.00           $666.00
Jeannie B.
                Associate          Corporate            2013        $190,955.00            211.00        N/A        $905.00           $835.00         $176,185.00
Poland
Carleigh T.
                Associate       Environmental           2013        $127,876.50            141.30        N/A        $905.00           $835.00         $117,985.50
Rodriguez
Alyssa B.
                Associate        Restructuring          2015        $226,894.50            308.70        N/A        $735.00           $645.00         $199,111.50
Russell
Brendan Ryan    Associate          Litigation           2014          $972.00               1.20         N/A        $810.00           $725.00           $870.00
Patrick J.
                Associate          Corporate            2016        $172,731.00            267.80        N/A        $645.00           $645.00         $172,731.00
Samper
Michael
                Associate       Environmental           2015         $62,959.00            75.40         N/A        $835.00           $735.00         $55,419.00
Saretsky
David Serna     Associate          Corporate            2008         $55,963.00            58.60         N/A        $955.00           $905.00         $53,033.00
Jeffrey J.
                Associate     Intellectual Property     2014        $29,400.00             40.00         N/A        $735.00           $645.00         $25,800.00
Seroogy
Ravi Shankar    Associate          Litigation           2011        $328,243.50           362.70         N/A        $905.00           $845.00         $306,481.50
Ahmed Sidik     Associate          Corporate            2013         $60,816.00            67.20         N/A        $905.00           $835.00         $56,112.00
Michelle S.
                Associate       Environmental           2016         $9,223.50             14.30         N/A        $645.00           $555.00          $7,936.50
Sliwinski
Allyson Smith   Associate        Restructuring          2017         $68,241.00           105.80         N/A        $645.00           $555.00         $58,719.00
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                                                                                                                                                                      Hourly Rate Billed              Fees Billed
                                                                                                                    Hours Billed                 Number of                                          In this Application
   Attorney                                                               Date of               Fees Billed                                                                        In the First
                       Position                Department                                                                  In this                 Rate            In this                            at First Interim
    Name                                                                 Admission           In this Application                                                                     Interim
                                                                                                                         Application             Increases       Application                            Application
                                                                                                                                                                                   Application
                                                                                                                                                                                                        Billing Rate
Stella Tang            Associate                Corporate                      2015             $213,076.50               289.90                   N/A            $735.00           $735.00           $213,076.50
Scott Vail             Associate         Employee Benefits                     2016              $1,032.00                  1.60                   N/A            $645.00           $555.00             $888.00
Anne G.
                       Associate               Restructuring                  Pending           $218,503.50               393.70                   N/A            $555.00           $555.00           $218,503.50
Wallice
Michelle A.
                       Associate                Corporate                      2017             $59,718.00                107.60                   N/A            $555.00           $555.00           $59,718.00
Williamson
Kenneth A.
                       Associate                Litigation                     2013             $182,266.50               215.70                   N/A            $845.00           $845.00           $182,266.50
Young
David Zobell           Associate                Corporate                      2015              $1,543.50                  2.10                   N/A            $735.00           $645.00            $1,354.50
Totals for Attorneys                                                                          $9,282,863.50              10350.00                                                                    $8,962,689.00


                                                                                                                                                                         Hourly Rate Billed            Fees Billed
                                                                                                                                                                                                           In this
                                                                                                                                                                                                        Application
                                                                                                          Fees Billed          Hours Billed          Number of                       In the First     at First Interim
   Paraprofessional                                                                      Date of             In this                 In this           Rate            In this         Interim          Application
        Name                       Position                  Department                 Admission          Application             Application       Increases       Application     Application       Billing Rate
                                                               Intellectual
Brian Flaherty                     Paralegal                                              N/A              $2,448.50                   8.30              N/A          $295.00          $295.00          $2,448.50
                                                                Property
Beth Friedman                      Paralegal                 Restructuring                N/A                $294.00                   0.70              N/A          $420.00          $420.00           $294.00
Melinda Jackson                    Paralegal                   Litigation                 N/A             $56,197.50                190.50               N/A          $295.00          $295.00         $56,197.50
Paul Ketz                          Paralegal                   Litigation                 N/A             $19,608.00                 51.60               N/A          $380.00          $380.00         $19,608.00
Maureen McCarthy                   Paralegal                 Restructuring                N/A             $59,592.00                152.80               N/A          $390.00          $390.00         $59,592.00
Lauren Mitchell-
                                   Paralegal                 Environmental                N/A              $1,140.00                   3.00              N/A          $380.00          $380.00          $1,140.00
Dawson
Bella More                         Paralegal                   Litigation                 N/A              $1,400.00                   3.50              N/A          $400.00          $400.00          $1,400.00
Carrie Oppenheim                   Paralegal                 Restructuring                N/A                $228.00                   0.60              N/A          $380.00          $380.00           $228.00
Henry Rosas                        Paralegal                   Corporate                  N/A                $210.00                   0.50              N/A          $420.00          $420.00           $210.00
Laurie L. Ruxton                   Paralegal                   Real Estate                N/A                $585.00                   1.50              N/A          $390.00          $390.00           $585.00
Amanda Solis                       Paralegal                 Restructuring                N/A              $8,968.00                 30.40               N/A          $295.00          $295.00          $8,968.00
Anthony C. Abate              Junior Paralegal               Restructuring                N/A              $5,088.00                 21.20               N/A          $240.00          $240.00          $5,088.00
                                                               Intellectual
Julia M. Adams                Junior Paralegal                                            N/A             $30,024.00                125.10               N/A          $240.00          $240.00         $30,024.00
                                                                Property
Ryan Besaw                    Junior Paralegal               Restructuring                N/A             $29,424.00                122.60               N/A          $240.00          $240.00         $29,424.00
Julia Foster                  Junior Paralegal               Restructuring                N/A              $8,688.00                 36.20               N/A          $240.00          $240.00          $8,688.00
Eric Greenberg                Junior Paralegal                 Litigation                 N/A              $3,552.00                 14.80               N/A          $240.00          $240.00          $3,552.00
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                                                                                                                            Hourly Rate Billed         Fees Billed
                                                                                                                                                            In this
                                                                                                                                                         Application
                                                                               Fees Billed   Hours Billed   Number of                   In the First   at First Interim
   Paraprofessional                                                 Date of      In this        In this       Rate        In this         Interim        Application
        Name                Position            Department         Admission   Application    Application   Increases   Application     Application     Billing Rate
Hannah Kupsky           Junior Paralegal       Restructuring         N/A        $330.00          1.50         N/A        $220.00         $220.00          $330.00
Millicent Marter        Junior Paralegal         Litigation          N/A        $240.00          1.00         N/A        $240.00         $240.00          $240.00
Daniel J. Varn          Junior Paralegal         Litigation          N/A       $15,048.00       62.70         N/A        $240.00         $240.00        $15,048.00
Rebecca L. Wallace      Junior Paralegal     International Trade     N/A       $1,541.00         6.70         N/A        $230.00         $230.00        $1,541.00
                        Practice Support
Cynthia D. Johnson                             Environmental         N/A        $990.00          4.50         N/A        $220.00         $220.00          $990.00
                           Assistant
                        Practice Support
Nancy L. Johnson                                 Litigation          N/A        $230.00          1.00         N/A        $230.00         $230.00          $230.00
                           Assistant
                                               Administrative
Michael Y Chan         Conflicts Analyst I                           N/A       $3,990.00        19.00         N/A        $210.00         $210.00        $3,990.00
                                                 Services
                       Conflicts Analyst       Administrative
Stephen P. Garoutte                                                  N/A        $795.00          3.00         N/A        $265.00         $265.00          $795.00
                         Supervisor              Services
                           Conflicts           Administrative
Allison Graybill                                                     N/A       $4,637.50        17.50         N/A        $265.00         $265.00        $4,637.50
                          Coordinator            Services
                        Support Staff          Administrative
Kenneth Sampson                                                      N/A       $1,722.50         6.50         N/A        $265.00         $265.00        $1,722.50
                      Conflicts Analyst II       Services
                           Director
Kurt J. Wunderlich    Mergers/Acquisitions       Litigation          N/A        $816.00          1.20         N/A        $680.00         $680.00          $816.00
                          Clearance
                       Litigation Support
Megan Buenviaje                                  Litigation          N/A        $124.00          0.40         N/A        $310.00         $310.00          $124.00
                            Specialist
                       Litigation Support
Olivia Weyers                                    Litigation          N/A        $140.00          0.50         N/A        $280.00         $280.00          $140.00
                            Specialist
                       Litigation Support
Toni Anderson                                    Litigation          N/A         $68.00          0.20         N/A        $340.00         $340.00          $68.00
                           Consultant
                       Senior Litigation
Colleen C. Caamano                               Litigation          N/A        $102.00          0.30         N/A        $340.00         $340.00          $102.00
                       Support Specialist
                       Senior Litigation
Nancy L. Perkins                                 Litigation          N/A        $510.00          1.50         N/A        $340.00         $340.00          $510.00
                       Support Specialist
                       Senior Litigation
Antonio Soto                                     Litigation          N/A       $8,058.00        23.70         N/A        $340.00         $340.00        $8,058.00
                       Support Specialist
                       Litigation Support
Katelyn Ye                                       Litigation          N/A         $68.00          0.20         N/A        $340.00         $340.00          $68.00
                           Consultant
                       Trial Technology
Kenneth W. Dyche                                 Litigation          N/A       $4,653.00        14.10         N/A        $330.00         $330.00        $4,653.00
                           Specialist
Joshua L. Urban          Support Staff           Litigation          N/A        $357.50          1.10         N/A        $325.00         $325.00          $357.50
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                                                                                                                          Hourly Rate Billed         Fees Billed
                                                                                                                                                          In this
                                                                                                                                                       Application
                                                                             Fees Billed   Hours Billed   Number of                   In the First   at First Interim
   Paraprofessional                                               Date of      In this        In this       Rate        In this         Interim        Application
        Name                   Position         Department       Admission   Application    Application   Increases   Application     Application     Billing Rate
                           Trial Technology
Marvin R. Gibbons, Jr.                            Litigation       N/A        $1,155.00        3.50         N/A        $330.00         $330.00        $1,155.00
                              Consultant
                           Trial Technology
Will E. Thomas                                    Litigation       N/A       $21,483.00       65.10         N/A        $330.00         $330.00        $21,483.00
                              Consultant
Library Factual                                 Administrative
                          Research Specialist                      N/A        $6,732.00       20.40         N/A        $330.00         $330.00        $6,732.00
Research                                          Services
Library Business                                Administrative
                          Research Specialist                      N/A        $165.00          0.50         N/A        $330.00         $330.00          $165.00
Research                                          Services
Library Document                                Administrative
                          Research Specialist                      N/A        $318.50          1.30         N/A        $245.00         $245.00          $318.50
Retrieval                                         Services
Library Legislative                             Administrative
                          Research Specialist                      N/A        $1,485.00        4.50         N/A        $330.00         $330.00        $1,485.00
Research                                          Services
Totals for Paraprofessionals                                                 $303,206.00    $1,025.20                                                $303,206.00
